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                 EXHIBIT 7
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                           August 31, 2018 (e-mail update)




ATTORNEYS' EYES ONLY                                             GOOG-ROWE-00017816. RR
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                                        Going External:                 is active in market; Stuart providing names,
                                        background on candidates.

           Financial Services           2 Candidates for panel: Chasing feedback for Ulku.                      on 9/10

         Media & Entertainment          Scheduling Panel Interviews:              and             scheduling with Diane
                                        Greene.

                Gaming                  Back to Market                  and sourcing others.

        VP, Strategic Accounts          Two Candidates:                has gone a little quiet.

      Global Client Lead Build Outs     Various stages and status.




                                      : "Kick off" was on 8/10. Active in market.



                                        Initial screen with HM; speaking at a    You want anyone to get "eyes" on
                                        Google sponsored event. Kevin                ?
                                        Hartman on Adam Stewart's team
                                        will be there.




ATTORNEYS' EYES ONLY                                                                     GOOG-ROWE-00017817.RR
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                                  Scheduled with Diane Greene, 9/13.
                                  Stuart connected with          ; she
                                  had questions about the strategic
                                  importance of the role given the lag
                                  time, etc. She's all good.

Ulku Rowe    Google              Sounds like she is not viable for the   What next? L8 Global Client
                                 role.                                   Technical Director FSI?
                                 Met with Sebastien, Darryl, Jason,      Did Tariq send a note to panel
                                 Vats.                                   members?


             Google               Scheduling panel interviews: had a     Tariq was going to connect with
                                  hiccup b/c of Sundar request.                before we schedule before
                                  Sebastien M: 9/7                       we loop in DG?
                                  Brian: scheduling GVC
                                  In-person panel: 9/10.

                                  Potentially interesting, varied
                                  background: leans risk but balanced
                                  by commercial/strategy.

                                  LST contacting again.                  Is Tariq networked to him?




                                  More technology heavy.




                                  Cost cutting, can't be having too      Tariq knows him?
                                  much fun.


                                  Contacted. Likely source due to
                                  compensation.
                                  archetype.




ATTORNEYS' EYES ONLY                                                            GOOG-ROWE-00017818.RR
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                                    August 10, 2018




                                  Going External: contract resolved. Scheduling "Kick off" later today.

          Financial Services      2 Candidates for panel: two internals

        Media & Entertainment     Scheduling Panel Interviews:             with Greg;        onsite 8/17




ATTORNEYS' EYES ONLY                                                             GOOG-ROWE-00017838. RR
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                   Gaming                  Back to Market:                   and sourcing others.

            VP, Strategic Accounts         Two Candidates:

        Global Client Lead Build Outs      Wild West!! Going to be a fun ride! Working closely with L2-L7 team.




                                               : "Kick off'' later today, 8/10.
                                        They have the "off limits" list.




                                           Per Lauren, Diane wants to see the        Tariq in discussions with Diane.
                                           packet before scheduling with             Week of 20th.
                                                   .

                                                 is interested in the "P. Torrey''   Will she be on the technical or non-
                                           role for FSI.                             technical side? Likely GCL. Tariq
                                                                                     to have another call.

Ulku Rowe           Google                 Awaiting complete feedback.
                                           Met with Sebastien: 8/2
                                           Darryl, Jason, Vats: 8/8: Vats liked
                                           her. Darryl like her, had some
                                           questions - followership.

                    Google                 Scheduling panel interviews:
                                           Sebastien M: 8/30
                                           Brian: scheduling GVC
                                           In-person panel: 9/10.




ATTORNEYS' EYES ONLY                                                                        GOOG-ROWE-00017839.RR
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                                         August 3, 2018




                                      Going External: contract resolved. Scheduling "Kick off" ideally week of
                                      8/6.

           Financial Services         3 Candidates for panel: two internals

         Media & Entertainment        Scheduling Panel Interviews:

                Gaming                Packet Submitted: for

        VP. Strategic Accounts        Speaking with                    today.

      Global Client Lead Build Outs   Wild West!! Going to be a fun ride! Working closely with L2-L7 team.




ATTORNEYS' EYES ONLY                                                                GOOG-ROWE-00017844. RR
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                       : Working with Jess to set-up kick-off with Brenda and team next week.
             We should have a customer "off limits" list for them, e.g.               , etc.




                                         Per Lauren, Diane wants to see the        Tariq in discussions with Diane.
                                         packet before scheduling with             Week of 20th.
                                                 .

                                               is interested in the "P. Torrey''   If you're open to this, Stuart to work
                                         role for FSI.                             with HR to see if WEl can use
                                                                                   interview feedback, etc.

Ulku Rowe    Google                     Scheduling panel interviews. Brian
                                        supports her hire, but he prefers not
                                        to formally interview her.

             Google                      Scheduling panel interviews:
                                         Sebastien M: 8/30
                                         Brian: scheduling GVC
                                         In-person panel: 9/10.

                                         Darryl is "H" concerns around             Given Brian, do we stop        now?
                                         inspiration.
                                         Brian is "NH"

                                        Stuart provided background to              Any follow-up here?
                                        Fiona and Kevin. Fiona and Kevin
                                        to connect with Tariq.

                                        Exchanging messages; connecting
                                        soon.




ATTORNEYS' EYES ONLY                                                                      GOOG-ROWE-00017845. RR
